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                                                                             FILED
                                                                      U.S. DISTRICT COURT
                                                                                  DIV.
                     miTED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA                     2016 JAN 12 PM 2:5
                              AUGUSTA DIVISION

                                                                     CLER
IN RE:             )
RICHARD T.PACHECO,H )
                    )                                1:15 CR 063
                    )
LEAVE OF ABSENCE    )


                                      ORDER


      Upon consideration ofthe Motion for Leave of Absence filed by Richard T.
Pacheco, II, in the above-cited case, for the period of:

       February 16, 2016 through and including February 19, 2016,
      April 4,2016 through and including April 8, 2016, June 17, 2016
      through and including July 5, 2016, November 21,2016 through
       and including November 25, 2016, December 26, 2016 through
       and including January 5, 2017 for vacation outside of the district,

the same is hereby GRANTED.


       This                              ., 2016.




                                 DUDLEY H:BOWEN,JR.
                                 UNITED STATES DISTRICT COURT JUDGE
                                 SOUTHERN DISTRICT OF GEORGIA
